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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

 FLETA CHRISTINA COUSIN SABRA                     )
                                                  )
       Plaintiff,                                 )
                                                  )
 v.                                               )     Civil Action No.: 1:20-cv-681-CKK
                                                  )
 U.S. CUSTOMS AND BORDER                          )
 PROTECTION,                                      )
                                                  )
       Defendant.                                 )


                                          ORDER


       It is hereby:

       ORDERED that Plaintiff’s [7] Motion for Judgment on the Pleadings is

GRANTED; it is further

       ORDERED that Defendant shall search for, review, and produce all non-exempt

agency records responsive to Plaintiff’s request on a rolling basis; it is further

       ORDERED that no later than August 1, 2020, Defendants shall file a status

report with the Court informing the Court of the status of Defendant’s productions, and

the date by which Defendant will complete them. Upon receipt of that report, the Court

shall set an appropriate schedule.



       So ordered.



                                           _____________________________
                                           COLLEEN KOLLAR-KOTELLY
                                           UNITED STATES DISTRICT JUDGE



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